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                           IN THE UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                   )
                                            )       CASE NO. 4:20-cr-40056
              Plaintiff,                    )
                                            )
       vs.                                  )       MOTION FOR LEAVE TO
                                            )       FILE MOTION TO
ERIC RICHARD JONES,                         )       WITHDRAW UNDER
                                            )       SEAL
              Defendant                     )
              .                             )

       COMES NOW Attorney, Murray W. Bell, P.C., who is CJA Counsel appointed to

represent Defendant, ERIC RICHARD JONES, and in support of this Counsel’s Motion for

Leave to file his Motion to Withdraw Under Seal states as follows:

1.     Counsel for Defendant Jones seeks to withdraw as Counsel for Defendant.

2.     He desires to file the Motion to Withdraw as Counsel for Defendant, Eric Richard Jones,

       under seal as it contains H.I.P.P.A. protected information about this Counsel.

       WHEREFORE Counsel PRAYS this Court for an Order Granting leave to file the Motion

to Withdraw under seal and Ex Parte, and for other relief as the Court deems appropriate.



                                                    Respectfully Submitted

                                                    /s/ Murray W. Bell
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